Case 2:19-cv-10421-GW-JC Document 1-2 Filed 12/09/19 Page 1 of 15 Page ID #:24




                  EXHIBIT A
                                                              Exhibit A, Page 3
Case 2:19-cv-10421-GW-JC Document 1-2 Filed 12/09/19 Page 2 of 15 Page ID #:25




    1   Heather McMillan (188939)
        Daniel P. Stevens (164277)
        STEVENS & McMILLAN                                                              FILED
        335 Centennial Way                                                    Superior Court of California
                                                                                County of Los Anaeles
        Tustin, CA 92780
        Tel.: (714) 730-1000
        Fax: (714) 730-1067
                                                                                       AUG 22 2019
                                                                        Sherri R. Ca      ecutive Officer/Clark d Court
        Attorneys for Representative Plaintiffs:                         BY
        EVAGELOS ANDRIKOS, BRYANT BURNS,                                               Isaac Lava
        MICHAEL OLVERA, PAUL RUIZ,
        JERRY VRBANOVIC


                     IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                        COUNTY OF LOS ANGELES

        EVAGELOS ANDRIKOS, BRYANT)                      Case No.:
        BURNS, MICHAEL OLVERA, PAUL)
        RUIZ, JERRY VRBANOVIC, on behalf of)            [Unlimited Civl 9Sfr      CV2952(
        themselves and other similarly situated non-)
        exempt former and current employees,        )
                                                    )   CLASS ACTION             COMPLAINT                     FOR
                        Plaintiffs,                 )   DAMAGES:
                                                    )
                            v.                      )   1. Failure to Pay Wages
                                                    )
        PACIFIC MARITIME ASSOCIATION,               )   2. Failure to Pay Reporting Time Pay
        PACIFIC MARITIME ASSOCIATION,               )
        INC., APM TERMINALS PACIFIC LLC, )              3. Failure to Pay Expenses (Mileage)
        APS STEVEDORING, LLC, BENICIA               )
        PORT TERMINAL COMPANY, CERES )                  4. Failure to Provide Accurate Itemized Wage
        TERMINALS INCORPORATED,                     )   Statements
        CRESCENT CITY MARINE WAYS &                 )
        DRYDOCK COMPANY, INC., EAGLE )                  5. Waiting Time Penalties
        MARINE SERVICES, LTD., EVERPORT )
        TERMINAL SERVICES, INC., HARBOR)                6. Unfair Competition
        INDUSTRIAL SERVICES                         )
        CORPORATION, INNOVATIVE                     )   DEMAND FOR JURY TRIAL
        TERMINAL SERVICES INC.,                     )
        INTERNATIONAL TRANSPORTATION)
        SERVICE, INC., KINDER MORGAN                )
        BULK TERMINALS LLC, LBCT, LLC, )
        MARINE TERMINALS CORPORATION,)
        MARINE TERMINALS CORPORATION)
        OF LOS ANGELES, MATSON                      )
        NAVIGATION COMPANY, INC.,                   )
        MATSON TERMINALS,          INC.,            )
        METROPOLITAN STEVEDORE                      )
        COMPANY, OCEAN TERMINAL                     )
        SERVICES, INC., PACIFIC CRANE               )
        MAINTENANCE COMPANY LP,                     )
        PACIFIC RO-RO STEVEDORING, LLC, )
        PASHA STEVEDORING &                         )
                                                        1
                                                                               Exhibit A, Page 4
                                  CLASS ACTION COMPLAINT FOR DAMAGES
Case 2:19-cv-10421-GW-JC Document 1-2 Filed 12/09/19 Page 3 of 15 Page ID #:26



      TERMINALS LP, PORT
      MAINTENANCE GROUP, SSA
      MARINE, INC., SSA TERMINALS, LLC,)
      TERMINAL EQUIPMENT SERVICES, )
      INC., TOTAL TERMINALS
      INTERNATIONAL, LLC, TRANSPAC     )
      TERMINAL SERVICES, LLC, TRAPAC, )
      LLC, YUSEN TERMINALS, INC. and   )
      DOES 1 through 100, inclusive,

                       Defendants.



              Plaintiffs EVAGELOS ANDRIKOS, BRYANT BURNS, MICHAEL OLVERA, PAUL

      RUIZ, and JERRY VRBANOVIC ("Plaintiffs") complain and allege, on behalf of themselves and

      all others similarly situated as follows:

                                                  INTRODUCTION

              1.      This action is brought as a class action under California Code of Civil Procedure

      Section 382 to recover unpaid and unlawfully withheld wages, expenses, liquidated damages,

      statutory penalties and other damages owed to Plaintiffs and all other longshoremen and marine

      clerks working within the State of California, dispatched within the County of Los Angeles, and

      employed by, or formerly employed by PACIFIC MARITIME ASSOCIATION, PACIFIC

      MARITIME ASSOCIATION, INC., APM TERMINALS PACIFIC LLC, APS STEVEDORING,

      LLC, BENICIA PORT TERMINAL COMPANY, CERES TERMINALS INCORPORATED,

      CRESCENT CITY MARINE WAYS & DRYDOCK COMPANY, INC., EAGLE MARINE

      SERVICES, LTD., EVERPORT TERMINAL SERVICES, INC., HARBOR INDUSTRIAL

      SERVICES CORPORATION, INNOVATIVE TERMINAL SERVICES INC., INTERNATIONAL

      TRANSPORTATION SERVICE, INC., KINDER MORGAN BULK TERMINALS LLC, LBCT,

      LLC, MARINE TERMINALS CORPORATION, MARINE TERMINALS CORPORATION OF

      LOS ANGELES, MATSON NAVIGATION COMPANY, INC., MATSON TERMINALS, INC.,

      METROPOLITAN STEVEDORE COMPANY, OCEAN TERMINAL SERVICES, INC., PACIFIC
      CRANE MAINTENANCE COMPANY LP, PACIFIC RO-RO STEVEDORING, LLC, PASHA

      STEVEDORING & TERMINALS LP, PORT MAINTENANCE GROUP, SSA MARINE, INC.,

      SSA TERMINALS, LLC, TERMINAL EQUIPMENT SERVICES, INC., TOTAL TERMINALS
                                        2
                                                         Exhibit A, Page 5
                                 CLASS ACTION COMPLAINT FOR DAMAGES
Case 2:19-cv-10421-GW-JC Document 1-2 Filed 12/09/19 Page 4 of 15 Page ID #:27



    I INTERNATIONAL, LLC, TRANSPAC TERMINAL SERVICES, LLC, TRAPAC, LLC, YUSEN

      TERMINALS, INC. (hereinafter referred to as "PMA and its member companies"), and DOES 1

      through 100. Plaintiffs are informed and believe that Defendants, and each of them, constitute an

      association of west coast shipping, stevedoring and marine terminal companies that employ

      longshoremen and marine clerks such as the plaintiffs.

                                               CASE HISTORY

             2.      Defendants have a long history of refusing to compensate longshoremen and

      marine clerks working within the state of California for compulsory travel time from dispatch to

      their job location, mileage from dispatch to their job location, reporting time for casuals, time

      spent waiting to be dispatched, and any other uncompensated time between dispatch and the

      recorded start time for each of the Class Members. The longshoremen filed two class action suits

      in 2003 and 2008 for compensation for unpaid compulsory travel time, yet the Defendants

      continue to follow the same practices.

                                       JURISDICTION AND VENUE

             3.      The Superior Court of the State of California has jurisdiction over this action

      pursuant to California CCP Section 410.10, because Plaintiffs have alleged state law claims

      under the California Labor Code, the California Industrial Welfare Commission Wage Orders,

      and under the California Business & Professions Code.

             4.      Venue is proper in the Los Angeles County Superior Court pursuant to the Code

      of Civil Procedure section 395.5 because PMA and its member companies committed the

      wrongful acts within the County of Los Angeles.

                                               THE PLAINTIFFS

             5.      Plaintiff Evagelos Andrikos is a resident of California. He commenced

      employment with PMA and its member companies in 1998. He was a regular longshoreman

      during the relevant time period. He also worked as an overflow marine clerk during the relevant

      time period.

             6.      Plaintiff Bryant Burns is a resident of California. He commenced employment

      with PMA and its member companies in 1996. He was a marine clerk during the relevant time
                                                  3
                                                                        Exhibit A, Page 6
                                 CLASS ACTION COMPLAINT FOR DAMAGES
Case 2:19-cv-10421-GW-JC Document 1-2 Filed 12/09/19 Page 5 of 15 Page ID #:28




      period. He was also a regular longshoreman and an overflow marine clerk during the relevant

      time period.

                7.    Plaintiff Michael Olvera is a resident of California. He commenced employment

      with PMA and its member companies in 1998. He was a regular longshoreman during the

      relevant time period and has worked as a clerk during times when he was on "limited duty" and

      as an overflow clerk.

                8.    Plaintiff Paul Ruiz is a resident of California. He commenced employment with

      PMA and its member companies in 2007. He was a casual longshoreman during the relevant time

      period.

                9.    Plaintiff Jerry Vrbanovic is a resident of California. He commenced employment

      with PMA and its member companies in 1998. He was a regular longshoreman during the

      relevant time period.

                                             THE DEFENDANTS

                10.   PMA and its members are companies/corporations/entities that are or were doing

      business in the State of California during the liability period and are jointly and severally liable

      for their own, and their predecessors, affiliates, corporate parents, and subsidiaries violations of

      the state wage and hour laws. Defendants, and each of them, are in the business of providing

      work and/or work assignments to Plaintiffs and Plaintiff Class Members involving longshoremen

      and marine clerk activities and the paperwork associated therewith. The corporate headquarters

      for Pacific Maritime Association are in California.
                11.   Plaintiffs sue Doe Defendants 1 through 100, inclusive, under fictitious names.

      Plaintiffs do not presently know their true names and capacities. When Plaintiffs ascertain their

      true names and capacities, they will amend this Class Action Complaint by inserting their true

      names and capacities herein.

                12.   At all times mentioned in this Class Action Complaint, all defendants, and each of

      them, were the agents and employees of their co-defendants or otherwise responsive for the
      conduct complained of herein, and in doing the things alleged were acting within the course and

      scope of that agency and employment or were otherwise responsible for the damages complained
                                                    4
                                                                          Exhibit A, Page 7
                                 CLASS ACTION COMPLAINT FOR DAMAGES
Case 2:19-cv-10421-GW-JC Document 1-2 Filed 12/09/19 Page 6 of 15 Page ID #:29



      of by the Plaintiffs.

                                         GENERAL ALLEGATIONS

              13.      PMA and its member companies are an association of west coast shipping,

      stevedoring and marine terminal companies that employ longshoremen and marine clerks. PMA

      operates dispatch halls that dispatch longshoremen and marine clerks as needed on a daily basis

      to perform work assignments as requested by the various employers. PMA represents its member

      companies in negotiations with the unions that represent the clerks and the longshoremen.

              14.      Each day, individual member companies notify the hiring halls through PMA as to

      the numbers of longshoremen and clerks they need, the job category, the location, and the

      starting time.

              15.      The clerks and longshoremen must physically go to their respective dispatch halls

      to receive their assignments. They are required to be at the dispatch hall at a specific time, and

      then they have to wait until they receive their assignment. Once dispatched, the clerk or

      longshoreman must travel to the terminal to which they were assigned. Despite being under the

      direction and control of Defendants from the time they enter the hall, the longshoremen and

      clerks are not compensated for any wait time before they receive their assignment, nor are they

      compensated for the time it takes to travel to the location, park, and find the specific foreman at a

      specific location at the port. In addition, they are not paid for the mileage expense for the travel

      to the port. The casual longshoremen often wait an hour or more, only to find out that they did

      not even get an assigned job for the day, and yet the defendants refuse to pay the casuals for their
      wait time or the minimum reporting time pay.

                                      CLASS ACTION ALLEGATIONS
              16.      This action is being maintained as a class action pursuant to California Code of

      Civil Procedure Section 382 as to claims for unpaid wages, unpaid expenses, unlawfully

      withheld compensation, statutory penalties, attorney's fees and costs under the California Labor

      Code and the California Business & Professions Code. The Class Members have been denied

      compensation during the liability period. Plaintiffs are representatives of those other employees

      and are acting on behalf of their interests, as well as Plaintiff's own interests, in bringing this
                                                         5
                                                                                 Exhibit A, Page 8
                                  CLASS ACTION COMPLAINT FOR DAMAGES
Case 2:19-cv-10421-GW-JC Document 1-2 Filed 12/09/19 Page 7 of 15 Page ID #:30




      action. These similarly-situated employees are known to Defendants and each of them, and are

      readily identifiable and ascertained through Defendants' own records.

              17.    CLASS NO. 1 All casual longshoreman presently or formerly employed by

      Defendants during the relevant liability period who were dispatched from any of the dispatch

      halls in California and who were not compensated for their time at the dispatch hall, their time

      traveling from the dispatch hall to the docks, their time for any secondary travel to that day's

      foreman, for their mileage expenses, or for Reporting Time for each day they showed up at a hall

      and were not given a job.

              18.    CLASS NO. 2 All regular longshoreman presently or formerly employed by

      Defendants during the relevant liability period who were dispatched from any of the dispatch

      halls in California and who were not compensated for their time at the dispatch hall, their time

      traveling from the dispatch hall to the docks, their time for any secondary travel to that day's

      foreman, or for their mileage expenses.

              19.    CLASS NO. 3 All marine clerks, overflow clerks, and limited duty clerks

      presently or formerly employed by Defendants during the relevant liability period who were

      dispatched from any of the halls in California and who were not compensated for their time at the

      dispatch hall, their time traveling from the dispatch hall to the docks, their time for any secondary

      travel to that day's foreman, or for their mileage expenses.

             20.     This action has been brought and may properly be maintained as a class action

      under the provisions of section 382 of the Code of Civil Procedure because there is a well-

      defined community of interest in the litigation and the proposed classes are easily ascertainable.
             A.      Numerosity

             21.     The potential members of the classes as defined are so numerous that joinder of

      all the members of the class is impracticable. Although the precise number of such employees is
      unknown, the facts upon which the calculation of that number could be ascertained are located

      within records presently within the control of the Defendants. Plaintiffs are informed and believe

      that each class identified above has thousands of Class Members.

      ///
                                                        6
                                                                               Exhibit A, Page 9
                                  CLASS ACTION COMPLAINT FOR DAMAGES
Case 2:19-cv-10421-GW-JC Document 1-2 Filed 12/09/19 Page 8 of 15 Page ID #:31



    1          B.      Commonality

               22.     There are questions of law and fact common to the class predominating over any

        questions affecting only individual Class Members. These common questions of law and fact

        include, without limitation:

                       a)      For all three classes, whether Defendants, and each of them, violated the

        California Labor Code, Industrial Welfare Commission Wage Orders and Business &

        Professions Code, by failing to pay all compensation to Class Members for time periods when

        they were subject to the control of the Defendant employers;

                       b)      For all three classes, whether Class Members are under the control of the

        Defendant employers when they are waiting for dispatch at the dispatch hall and whether they

        are under the control of the Defendant employers after they have been dispatched and are

        directed to a specific terminal for the day thus entitling them to compensation for travel time and

        mileage from the dispatch office to the terminal location ;

                       c)      For all three classes, whether Class Members are under the control of the

        Defendant employers from the time they arrive at the subject terminal and are required to

        conduct safety checks, inspections and/or travel to the location of the superintendent in charge of

        the day's work assignments, thus entitling Class Members to compensation;

                       d)      For all three classes, whether Defendants have failed to keep true and

        accurate time records for all hours worked by Class Members;

                       e)      For all three classes, the nature and extent of class wide injuries and the

        measure of damages, restitution, interest, waiting time penalties and/or any other damages to be

        paid by Defendants.

               C.      Typicality

               23.     The claims of the named Plaintiffs are typical of the claims of the three classes.

        Plaintiffs and all members of the three classes sustained injuries and damages arising out of and

        caused by Defendants' common course of conduct in violation of California laws, regulations,

        and statutes as alleged herein.


                                                         7
                                                                                Exhibit A, Page 10
                                    CLASS ACTION COMPLAINT FOR DAMAGES
Case 2:19-cv-10421-GW-JC Document 1-2 Filed 12/09/19 Page 9 of 15 Page ID #:32



               D.      Adequacy of Representation

               24.     Plaintiffs will fairly and adequately represent and protect the interests of the

      members of the Class. Counsel who represents Plaintiffs is competent and experienced in

       litigating employment class actions.

               E.      Superiority of Class Action

               25.     Although the relative damages suffered by individual Class Members may not be

      de minimis, such damages are small compared to the expense and burden of individual

      prosecution of this litigation. Individual Plaintiffs may lack the financial resources to vigorously

      prosecute a lawsuit against a corporate defendant to recover such damages. In addition, class

      litigation is superior because it will obviate the need for unduly duplicative litigation that might

      result in inconsistent judgments about Defendants' practices. Class action treatment will allow

      those similarly situated persons to litigate their claims in the manner that is most efficient and

      economical for the parties and the judicial system. Plaintiffs are unaware of any difficulties that

      are likely to be encountered in the management of this action that would preclude its

      maintenance as a class action.

                                          FIRST CAUSE OF ACTION

                                              (Failure to Pay Wages)

                           (By Plaintiffs and Class Members Against All Defendants)

               26.     Plaintiffs hereby incorporate paragraphs 1 through 25, inclusive, as though fully

       set forth herein.

               27.     Under California Labor Code Sections 204, 222, 223, 510, 1194, IWC Wage

       Orders Nos. 1-16 Sections 3, 4; and DLSE 46.1, 46.1.1, 46.2, 46.6.3, 47.4.2, 47.5, 47.5.4,

      Defendants were and are obligated to compensate the representative plaintiffs and all three

      classes for all hours they were under the control of the employer.

               28.     All of the class members were under the control of the employer, respectively,
       from the time they arrived at the dispatch hall until they received their job assignment for the

       day. Many of the class members continued to be under the control of the employer each day until

      they were able to locate that day's foreman, depending on the time they were required to report to
                                                       8
                                                                            Exhibit A, Page 11
                                  CLASS ACTION COMPLAINT FOR DAMAGES
Case 2:19-cv-10421-GW-JC Document 1-2 Filed 12/09/19 Page 10 of 15 Page ID #:33



       the terminal.

               29.     During the liability period, neither the plaintiffs nor the respective Class Members

       were paid for the time they waited at the dispatch hall, the time they traveled, and the time it took

       to find the day's foreman each day.

               30.     By failing to pay compensation due to the plaintiffs and the Class Members,

       Defendants willfully, knowingly and/or recklessly violated California wage and hour laws which

       require them to pay compensation for all hours worked while the longshoremen and marine

       clerks were subject to their control. Because the Class Members typically worked 8 hour or

       longer shifts, the Defendants will be required to pay premium pay for most of the hours that were

       unaccounted for as described above.

               31.     As a result of the unlawful acts of the Defendants, and each of them, the plaintiffs

       and the Class Members have been deprived of and continue to be deprived of compensation

       earned in amounts that will be determined at trial. Plaintiffs and Class Members are entitled to

       recover the amount that they were not paid, at premium rates when applicable, interest and

       attorneys fees and costs under Labor Code Section 218.5.

                                        SECOND CAUSE OF ACTION

                                       (Failure to Pay Reporting Time Pay)
                       (By Plaintiff Ruiz and Class No. 1 Members Against All Defendants)

               32.     Plaintiff Ruiz hereby incorporates paragraphs 1 through 31, inclusive, as though

       fully set forth herein.
               33.     Under California ¡WC Wage Orders Nos. 1-16, Section 5 and DLSE 46.7.2

       (Reporting Time Pay) , if the employee is required to report to work, and does report to work, but

       is not put to work or is scheduled for less than half of their usual day's work, then the employer

       is required to pay the employee half of their usual hours, not less than 2 hours and not more than

       4 hours.

               34.     Plaintiff Ruiz and all of the casual longshoremen (Class No. 1) were under the

       control of the employers, respectively, from the time they arrived at the dispatch hall to receive

       their work assignments.
                                                         9
                                                                               Exhibit A, Page 12
                                  CLASS ACTION COMPLAINT FOR DAMAGES
Case 2:19-cv-10421-GW-JC Document 1-2 Filed 12/09/19 Page 11 of 15 Page ID #:34



               35.     The casual longshoremen who arrive at the hall to be assigned work often were

       not given work assignments, yet the defendant has failed and continues to fail to pay them the

       required 2 to 4 hours of reporting time.

               36.     As a result of the unlawful acts of the Defendants, and each of them, the plaintiffs

       and the Class Members have been deprived of and continue to be deprived of the compensation

       they are due in amounts that will be determined at trial. Plaintiffs and Class Members are entitled

       to recover the Reporting Time Pay they were not paid, interest and costs. They are also entitled

       to attorneys' fees under Labor Code Section 218.5.

                                         THIRD CAUSE OF ACTION

                                       (Failure to Pay Expenses (Mileage))

                           (By Plaintiffs and Class Members Against All Defendants)

               37.     Plaintiffs hereby incorporate paragraphs 1 through 36, inclusive, as though fully

       set forth herein.

               38.     Under California Labor Code Sections 2802, Defendants were and arc obligated

       to compensate the representative plaintiffs and all three classes for all expenses incurred by the

       employee in direct consequence of the discharge of their duties.

               39.     During the liability period, neither the plaintiffs nor the respective Class Members

       were paid for the mileage between the dispatch hall and the specific terminal they were assigned

       to each day.

               40.     As a result of the unlawful acts of the Defendants, and each of them, the plaintiffs
       and the Class Members have been deprived of and continue to be deprived indemnification for

       their mileage in amounts that will be determined at trial. Plaintiffs and Class Members are
       entitled to recover the amount that they were not paid, interest, and attorneys fees and costs under

       Labor Code Section 218.5.

                                        FOURTH CAUSE OF ACTION

           (Failure to Provide Accurate Itemized Wage Statements in Violation of Lab. Code § 226)
                           (By Plaintiffs And Class Members against All Defendants)

               41.     Plaintiffs hereby incorporate by reference paragraphs 1 through 40, inclusive,
                                                         10
                                                                              Exhibit A, Page 13
                                  CLASS ACTION COMPLAINT FOR DAMAGES
Case 2:19-cv-10421-GW-JC Document 1-2 Filed 12/09/19 Page 12 of 15 Page ID #:35




       as though fully set forth at this point.

               42.     Labor Code 226(a) provides that every employer must furnish each of its

       employees an accurate itemized wage statement in writing and include the following information:

       (I) gross wages earned; (ii) total hours worked by the employee; (ii) the number of piece-rate

       units earned and any applicable piece-rate if the employee is paid on such a basis; (iv) all

       deductions, provided that all deductions made on written orders of the employee may be

       aggregated and shown as one item; (v) net wages earned; (vi) the inclusive dates of the period for

       which the employee is paid; (vii) the name of the employee and the last four digits of his or her

       social security number or an employee identifications number other than a social security

       number; (viii) the name and address of the legal entity that is the employer; and (ix) all

       applicable hourly rates in effect during the pay period and the corresponding number of hours

       worked at each hour rate by the employee.

               43.     The Defendants intentionally and willfully failed to provide Plaintiffs and Class

       Members with complete and accurate wage statements. In particular, the Defendants failed to

       document and record the time Representative Plaintiffs and Class Members were under their
       control between the check in at the dispatch and when they reported to their daily foreman, and
       thus, Plaintiffs and Class Members' gross and net wages were inaccurate for every pay period.

               44.     As a result of Corporate Defendants' violation of Labor Code section 226(a),

       Plaintiffs and Class Members have suffered injuries and damages. Plaintiffs and the Class they

       seek to represent seek to recover the penalty of $100 per person per payroll period up to the
       maximum amount of $4,000 per person plus attorneys fees, costs, and interest.

                                           FIFTH CAUSE OF ACTION

                           (Waiting Time Penalties Pursuant to Lab. Code, §§ 201-203)
                            (By Plaintiffs And Class Members against All Defendants)

               45.     Plaintiffs hereby incorporate by reference paragraphs 1 through 44, inclusive,

       as though fully set forth at this point.
               46.     Sections 201 and 202 of the California Labor Code require Defendants to pay its

       employees all wages due at the time of termination. Section 203 of the Labor Code provides that
                                                      11
                                                                            Exhibit A, Page 14
                                    CLASS ACTION COMPLAINT FOR DAMAGES
Case 2:19-cv-10421-GW-JC Document 1-2 Filed 12/09/19 Page 13 of 15 Page ID #:36




       if an employer willfully fails to timely pay such wages the employer must, as a penalty, continue

       to pay the subject employees' wages until the back wages are paid in full or an action is

       commenced. The penalty cannot exceed 30 days of wages.

               47.       As stated above, plaintiffs and class members were not paid all of the wages due

       to them. Class members who were terminated or separated from employment during the

       applicable time period are entitled to the statutory penalty plus interest, costs and attorney's fees.

                                           SIXTH CAUSE OF ACTION

                             (By Plaintiffs and Class Members against All Defendants)

                     (Unfair Competition in Violation of Bus. & Prof. Code, § 17200, et seq.)

               48.       Plaintiffs hereby incorporate by reference paragraphs 1 through 47, inclusive,

       as though fully set forth at this point.

               49.       Business & Professions Code section 17200 states that unfair competition

       includes any unlawful, unfair or fraudulent business act.

               50.       Defendants had a policy and practice of refusing to pay Plaintiffs and Class
       Members for all of the time they were under the control of the employers, refusing to pay for

       mileage to the terminals, refusing to pay Reporting Time Pay, and refusing to keep accurate

       records as described supra.

               51.       These policies and practices constitute unfair, fraudulent, or unlawful business

       practices that violate Business and Professions Code section 17200, et seq. the Defendants, and

       each of them, did these acts for the specific purpose of denying wages to their employees and to

       convert and otherwise use the wages in question for their own personal benefit, and thereby

       achieve operating and profit objectives in a manner that deprived Plaintiffs and Class Members

       of their full pay and reimbursement of expenses.

               52.       As a result of Corporate Defendants' unfair competition as alleged herein,
       Plaintiffs and Class Members have suffered injuries in fact and lost money or property. Plaintiffs

       and Class Members have been deprived of the rights to wages and benefits due including those as

       alleged herein.

               53.       Pursuant to California Business & Professions Code section 17203, Plaintiffs and
                                                         12
                                                                              Exhibit A, Page 15
                                    CLASS ACTION COMPLAINT FOR DAMAGES
Case 2:19-cv-10421-GW-JC Document 1-2 Filed 12/09/19 Page 14 of 15 Page ID #:37



       Class Members are entitled to seek restitution of all wages and other monies owed to them,

       including interest thereon, which Corporate Defendants wrongfully withheld by means of their

       unlawful and unfair business practices.

               54.     Plaintiffs and Class Members are entitled to an injunction and other declaratory

       and equitable relief against such practices to prevent future damage for which there is no

       adequate remedy at law and to avoid a multiplicity of lawsuits.

               55.     Plaintiffs and Class Members are informed and believe, and on that basis allege,

       that the illegal conduct alleged herein is continuing and there is no indication that Corporate

       Defendants will not continue such activity into the future. Plaintiffs and Class Members allege

       that if Corporate Defendants are not enjoined from the conduct set forth in this Complaint, they

       will continue to fail to pay the wage and compensation required to be paid and will fail to comply

       with other requirements of California law.

               56.    Plaintiffs and the class they seek to represent are entitled to and seek any and all

       available remedies including, but not limited to, restitution, disgorgement, and recovery of

       reasonable attorney's fees and costs pursuant to the Code of Civil Procedure section 1021.5,

       Business and Professions Code section 17200 et seq., the substantial benefit doctrine, and/or the

       common fund doctrine.

                                               PRAYER FOR RELIEF

               WHEREFORE, the Representative Plaintiffs, on behalf of themselves and all present and

       former casual longshoremen, longshoremen and marine clerks similarly situated who join in this

       action, request the following relief:

               1.     Certification of the claims set out by the Classes pursuant to California Code of

                       Civil Procedure Section 382 on behalf of all three classes;

               2.     Notice to Class Members pursuant to CCP Section 382 to all casual
                       longshoremen, longshoremen and marine clerks who worked for Defendants

                      within the respective liability periods of the classes;

               3.      For compensatory damages against Defendants to be paid to Plaintiffs and the

                       Plaintiff Classes, according to proof;
                                                         13
                                                                                Exhibit A, Page 16
                                  CLASS ACTION COMPLAINT FOR DAMAGES
Case 2:19-cv-10421-GW-JC Document 1-2 Filed 12/09/19 Page 15 of 15 Page ID #:38



              4.      For penalties for failure to keep records pursuant to Labor Code §226(e);

              5.      For Reporting Time Damages against Defendants to be paid to Plaintiff Paul Ruiz

                      and the members of Class No. 1 (the casual longshoremen);

              6.      For "waiting time penalties," pursuant to Section 203 of the California Labor

                      Code, against Defendant to be paid to members of the Plaintiff Class whose

                      employment has terminated with Defendants;

              7.      For an order requiring Defendants to disgorge all ill-gotten gains from its

                      unlawful conduct in the State of California;

              8.      For injunctive relief including, but not limited to, an Order enjoining Defendants

                      from continuing to engage in the State of California in the unlawful business

                     practices of refusing to pay their marine clerks and longshoremen for the time they

                     are required to be at dispatch, the time required to travel to the location and find

                     the foreman, and the mileage expense they incur in their drive from the dispatch

                     hall to the ports;

              9.     For prejudgment interest on all amounts claimed that are readily ascertainable;

              10.    For attorneys' fees and costs;

              11.    For such other and further relief that the court considers proper.

                                          DEMAND FOR A JURY TRIAL

              Plaintiffs hereby demand a jury trial on all issues so triable.




                                                              STEVENS & McMILLAN



       Dated: August 13, 2019                                By:
                                                                   119
                                                             DAN L P. S EVE
                                                             HEATHER K. MCMIL AN
                                                             Attorneys for Plaintiffs




                                                        14
                                                                                Exhibit A, Page 17
                                  CLASS ACTION COMPLAINT FOR DAMAGES
